                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN



  THE ESTATE OF THE UNBORN CHILD OF                                    Case No: 19-CV-01008-LA
  JENNIFER JAWSON; AND JENNIFER
  JAWSON,
            Plaintiffs,
       v.

  MILWAUKEE COUNTY, et al.,
              Defendants.
______________________________________________________________________________

PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
 THE DEFEDANTS’ MOTIONS FOR SUMMARY JUDGMENT AND JOINT MOTION
                            TO EXCLUDE EXPERTS
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       NOW COMES, the Plaintiffs, by and through their attorneys, Judge Lang & Katers, LLC

requesting a 40-day extension of time to submit responses to four separate summary judgment

motions and a joint motion to exclude experts, states as follows:

       1.      The previous scheduling order, which the parties stipulated to, required all

       dispositive motions to be filed on or before January 7, 2022.

       2.      On the Defendants’ motion, the Dispositive motion deadline was moved back to

       March 30, 2022, for all parties.

       3.      On March 30, 2022, the Defendants filed four separate motions for summary

       judgment with supporting briefs and a joint motion to exclude Plaintiffs’ experts. (D. 187,

       179, 175, 172, 166).

       4.      Plaintiffs’ response briefs are presently due on April 29, 2022.

       5.      Due to the filings from multiple Defendants and the fact that the dispositive motion

       deadline was substantially pushed back, counsel for the Plaintiffs believes a 40-day




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extension of time is necessary to adequately respond to all four of the summary judgment

motions and the motion to exclude Plaintiffs’ experts.

6.      Plaintiffs’ counsel has reached out to all opposing counsel regarding the requested

40-day extension. Opposing counsel for the Defendants have indicated they do not intend

on objecting to the Plaintiffs’ request for an extension so long as the Defendants are

provided with a total of 30 days to submit reply briefs.

7.      Plaintiffs’ respectfully request an additional 40 days to respond to the Defendants’

motions for summary judgment and Joint motion to exclude experts. The Parties

additionally agree and submit that the Defendants receive a total of 30 days to file reply

briefs. The Plaintiffs shall respond to all Defendants’ motions by June 8, 2022, and all

Defendants shall submit their reply briefs by July 8, 2022.


               Dated at this 7th day of April, 2022.

                                      Respectfully Submitted,
                                      Judge, Lang & Katers, LLC

                                      By: s/ David J. Lang
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